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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION


 ROBERT LOUIS DUVALL, Individually and on
                                       )
 behalf of PATSY DUVALL, Deceased,     )
                                       )
                  Plaintiff,           )
           v.                          ) CASE NO. 3:12-cv-0143-RLY-WGH
                                       )
 CARY HANNI, M.D.,                     )
 EVANSVILLE SURGICAL ASSOCIATES, INC., )
 and DEACONESS HOSPITAL, INC.,         )
                  Defendants.          )

                                STIPULATION OF DISMISSAL

        Plaintiff Robert Louis Duvall, Individually and on behalf of Patsy Duvall, Deceased, by

 counsel, and Defendants Cary Hanni, M.D., Evansville Surgical Associates, Inc., and Deaconess

 Hospital, Inc., hereby stipulate that Cary Hanni, M.D., Evansville Surgical Associates, Inc., and

 Deaconess Hospital, Inc., can be dismissed with prejudice from the above cause and this matter

 can now be removed from the Court’s docket.

                                      Respectfully submitted,

                                      GARAU GERMANO HANLEY & PENNINGTON, P.C.


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                                      Counsel for Plaintiff

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